	NO. 07-10-0034-CV

	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL C

	MARCH 9, 2010
	______________________________

	ELMER WHITTAKER,

Appellant

	V.

	REBECCA WHITTAKER,

Appellee
                        ______________________________

	FROM THE COUNTY COURT AT LAW NO. 3 OF LUBBOCK COUNTY;

	NO. 2009-549,132; HON. STEPHEN JOHNSON, PRESIDING
	______________________________

	MEMORANDUM OPINION
	______________________________

Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

Elmer Whittaker perfected this appeal on January 12, 2010.  The appellate record was due on or about February 11, 2010.  Both the district clerk and court reporter have filed motions to extend the time to file their records because appellant apparently failed to pay or make arrangements to pay for them, as required by Texas Rules of Appellate Procedure 35.3(a)(1)(2) and 35.3(b)(3).  By letter dated February 22, 2010, we directed appellant to certify to this court, by March 4, 2010, that he had complied with rule of procedure 35.3(a)(1)(2).  So too was he informed that failure to meet that deadline would result in the dismissal of his appeal.  To date, this court has not received either the clerks record, the reporters record, or notification that the records have been paid for or that arrangements have been made for payment.  Nor has this court received any request to postpone the dismissal date.  Consequently, we dismiss the appeal for want of prosecution.  

Per Curiam
